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UNITED STATES DISTRICT COURT FILED
WESTERN DISTRICT OF TEXAS
MIDLAND-ODESSA DIVISION DEC 16 2009
CLERK, U.S. DISTRIC? G
UNITED STATES OF AMERICA, _) CRIMINAL NO. GLERK. US. Dis RIC” COURT

)INDICTMENT | ey :

Plaintiff, —) DEPUTY CLERK
) [Vio: 18 U.S.C. § 2251(b) -

Production of Child Pornography

by a Parent & 18 U.S.C, § 2 -

Aiding and Abetting & 18 U.S.C.

§ 2252(a)(4) - Possessing Material

Containing Visual Depictions of

Minors Engaged in Sexually

Explicit Conduct]

V.
ARIEL BRUNSON,

Defendant.

Rey Ne Nee ws we wae

THE GRAND JURY CHARGES:

COUNT ONE
[18 U.S.C. § 2251(b) & 2]

That on or about September 3, 2009, in the Western District of Texas, the Defendant,
ARIEL BRUNSON,
aided and.abetted by John Christopher Brunson, being a parent or legal guardian of a minor,
did knowingly permit such minor to engage in sexually explicit conduct for the purpose of
producing a visual depiction, to wit: photographs, of such conduct, which visual depiction
| was produced using tiaterials that had been mailed, shipped, and transported in interstate and
foreign commerce.

A violation of Title 18, United States Code, Section 2251(b) and Title 18, United

States Code, Section 2.

 
COUNT TWO
[18 U.S.C. § 2252(a)(4)]

On or about September 3, 2009, in the Western District of Texas, the Defendant,
ARIEL BRUNSON,
did knowingly possess one or more images or videos which contain visual depictions of
minors engaging in sexually explicit conduct, that had been shipped and transported in
interstate commerce, the production of which involved the use of minors engaging in

sexually explicit conduct.

A violation of Title 18, United States Code, Section 2252(a)(4).

A TRO Figitatsigned by the
_foreperson of the Grand Ju

FOREPERSON OF THE GRAND JunY

JOHN E. MURPHY
United States Attorney

JK

KERRY ANN FLECK
Assistant United States Attorney

 
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_ PERSONAL DATA SHEET
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SEALED: XX | UNSEALED:
COUNTY: ECTOR DIVISION: JUDGE: JUNELL
MIDLAND/ODESSA _
DATE: Dec. 16, 2009 MAG CT #: MO-09-M- FBI #:
CASE NO: MO-09-CR- ASSISTANT U.S. ATTORNEY: KERRY ANN FLECK
DEFENDANT: ARIEL BRUNSON DOB: XXXXXXXXXX

 

 

ADDRESS: XXXXXXXXXXXXXXXXXXXXXXK

 

‘CITIZENSHIP: USC INTERPRETER NEEDED No LANGUAGE:

 

‘DEFENSE ATTORNEY:

APPOINTED

 

DEFENDANT IS:

 

 

DATE OF ARREST: BENCH WARRANT: YES

 

PROBATION OFFICER:

 

NAME AND ADDRESS OF SURETY:

 

YOUTH CORRECTIONS ACT APPLICABLE: No

 

PROSECUTION BY: Indictment _

 

|| OFFENSE (Code and Description): Ct. 1 - 18 USC 2251(b) - Production of child

 

pornography by parent & Ct. 2 - Possession of Child Pornography.
OFFENSE IS: FELONY

 

MAXIMUM SENTENCE: Ct. 1 - A 15 year minimum mandatory term of imprisonment, not
to exceed 30 years; a 5 year minimum mandatory term of supervised release, not to exceed
life: a fine not to exceed $250,000; and a $100 mandatory special assessment. Ct.2-A
term of imprisonment not to exceed 10 years, a 5 year minimum mandatory term of supervised
release, not to exceed life; a fine not to exceed $250,000 fine; and a mandatory $100 special
assessment.

 

PENALTY IS MANDATORY: As stated above.

 

 

REMARKS: AGENT:

S/A Juanita Santana

Immigration & Customs Enforcement
| P.O. Box 60405

Midland, Texas 79711-0405

 

 

| 432-617-0386 ofc

 
